        Case 1:16-cr-00436-KMW Document 215-2 Filed 04/05/18 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - x
UNITED STATES OF AMERICA      :
                                              ORDER
              - v. -                :
                                              S9 16 Cr. 436 (KMW)
STEVEN BROWN,                       :

                  Defendant.        :
- - - - - - - - - - - - - - - x


             WHEREAS, with the defendant=s consent, his guilty plea

allocution was made before a United States Magistrate Judge on

April 5, 2018;

             WHEREAS, a transcript of the allocution was made and

thereafter was transmitted to the District Court; and

             WHEREAS, upon review of that transcript, this Court has

determined that the defendant entered the guilty plea knowingly

and voluntarily and that there was a factual basis for the guilty

plea;

             IT IS HEREBY ORDERED that the defendant=s guilty plea is

accepted.

SO ORDERED:

Dated:       New York, New York
             April ___, 2018



                                     __________________________________
                                     THE HONORABLE KIMBA M. WOOD
                                     UNITED STATES DISTRICT JUDGE
